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               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Maureen Gibson, Special Agent with the Federal Bureau of Investigation (FBI), being

duly sworn, depose and state under penalty of perjury that the following is true to the best of my

information, knowledge and belief.

                      INTRODUCTION AND AGENT BACKGROUND

       1.     I am a Special Agent with the FBI and have been since 2016. I am currently assigned

to the Denver Division of the FBI, and specifically to the Organized Crime and Drug Enforcement

Task Force (OCDETF) Strike Force Group II and Squad CR-4 of the FBI. I investigate money

laundering and drug trafficking in the normal course of my duties, and I am fully familiar with the

facts of the case. During the course of my career, I have been an affiant on several Title III wiretap

affidavits related to narcotics, and I have participated in several narcotics investigations involving

controlled substances, including, but not limited to, heroin, cocaine, and methamphetamine. I also

have investigated individuals in other cases involving controlled substances, and the possession of

firearms by prohibited persons. I routinely work with FBI agents and Task Force Officers with more

experience than I have and benefit from their experience.

       2.     My duties and responsibilities include serving as a backup Airport Liaison for the

Denver Division of the FBI. In my capacity as a backup airport liaison I routinely serve as the point

of contact for any potential federal violations related to the airplane operations within the United

States. These violations includes interference with the flight crew, along with other federal

violations related to the operation of the aircraft within the United States.

       3.     The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, law enforcement officials, and witnesses.

Much of this affidavit is from information provided to me by other law enforcement officers, namely

from members of the Denver Police Department who serve in the Denver International Airport in

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some capacity. This affidavit is intended to show merely that there is sufficient probable cause for

the requested arrest warrant and criminal complaint and does not set forth all of my knowledge about

this matter.

       4.      I submit probable cause exists to believe that, on or about November 24, 2019, in the

State and District of Colorado, TONY JACKSON, did knowingly and intentionally interfere with

flight crew members, in violation of Title 49, United States Code, Section 46504.

                        FACTS IN SUPPORT OF PROBABLE CAUSE

                                   Background about JACKSON

        5.     JACKSON is currently in local custody at the Denver Sheriff’s Department, awaiting

federal charges for violations of Title 49, United States Code, Section 46504. JACKSON is a

United States Citizen, born in Chicago, Illinois on May 25, 1978. JACKSON has a lengthy criminal

history in Illinois including drug violations, traffic violations, Burglary, and Vehicle Theft.

                            Flight Disturbance on November 24, 2019

        6.     On November 24, 2019, I was contacted by the Denver Police Department about an

incoming flight, AA2258, where there was a reported level three alert disturbance on the aircraft.

The aircraft crew was requesting an emergency diversion to Denver International Airport. The

original flight route was from McCarran International Airport, LAS, to Chicago O’Hare

International Airport, ORD. The flight diverted to Denver International Airport, DEN and pulled up

to the gate at approximately 8:02am in Terminal A, Gate A48.

        7.     I spoke with multiple passengers and with the four (4) flight crew personnel assigned

to AA2258. The flight crew, C.T., S.L., E. R.-G., ,and T.R. all witnessed and made statements

regarding the disturbance as detailed below.

        8.     The aircraft departed LAS as normal, and service was provided to the passengers

onboard the aircraft. Following the airplane service, two female passengers, T.G., 18B, and P.T.,

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18A, came to the back of the plane, visibly upset and explained to flight attendants that the male

passenger, TONY JACKSON, in seat 18C was acting erratic and upsetting both T.G. and P.T.,

saying that one of the women “had a knife.” They expressed fear to flight attendants, S.L. and T.R.,

and asked to be moved. Around the time that this interaction was taking place, flight attendants and

passengers observed JACKSON move forward to the cockpit and approach an additional flight

attendant in the first-class cabin, E. R.-G. JACKSON told E. R.-G. that one of the passengers seated

next to him had a knife, at which point an additional flight attendant, C.T. joined JACKSON and E.

R.-G. near the cockpit. C.T. attempted to diffuse the situation and get JACKSON to return to his

seat. C.T. noted in her statement to me, as well as her written statement that throughout the course

of their interaction, JACKSON made no eye contact, acted erratically, while using an elevated voice.

She noted that he kept changing his statement regarding the location of the knife on the female

passenger. C.T. repeatedly asked JACKSON to return to his seat, and he reluctantly went back

towards his seat, grabbed his suitcase and said he wouldn’t move until the authorities came.

       9.     Due to the increasing erratic behavior, and escalating situation, acting as they thought,

in the best interest of the safety of the passengers and themselves, the pilots and crew made the

determination to divert the plane and make an emergency landing in Denver, Colorado. The flight

attendants were able to get JACKSON to move to the window seat in his previous row, and

requested that two male passengers sit next to JACKSON, rather than the original female passengers.

JACKSON continued to act erratically and threatened to bang his head against the wall and tear

things apart. This led to the flight attendant, T.R., requesting that the male passenger restrain

JACKSON with flex cuffs. After JACKSON was restrained, he remained relatively calm until the

flight was successfully diverted to Denver International Airport.

       10.    I interviewed JACKSON in a holding cell after interviewing several people, including

the four members of the flight crew, the two male passengers who sat next to JACKSON, and the

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two female passengers who originally sat next to JACKSON. JACKSON was read his Miranda

Rights, per FBI form FD-395, indicated that he understood his rights, waived his rights, and agreed

to talk with me and DPD Officer Stack without the presence of an attorney. JACKSON maintained,

throughout the interview, which was audio recorded, that the female passengers he was seated next

to, specifically P.T. had a knife and he was trying to protect the plane.

                                         CONCLUSION

       11.    Based on the facts set forth above, I submit probable cause exists to believe that,

on November 24, 2019, in the State and District of Colorado, TONY JACKSON, did knowingly

and intentionally interfere with a flight crew member, in violation of Title 49, United States

Code, Section 46504. Therefore, I respectfully request the issuance of an arrest warrant and

criminal complaint charging the same.

       I, Maureen Gibson, being duly sworn according to law, depose and say that the facts

stated in the foregoing affidavit are true and correct to the best of my knowledge, information

and belief.

                                                      s/Maureen Gibson
                                                      Maureen Gibson
                                                      Special Agent
                                                      FBI




Submitted, attested to, and acknowledged by reliable electronic means on November 25, 2019.


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 ____________________________
The
 he Honorable Scott TT. Varholak
United States Magistrate Judge

Affidavit reviewed, approved, and submitted by Martha A. Paluch Assistant United States
Attorney.



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